                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        GREENEVILLE

   RAINEY NICHOLE FIELDS,                               )
                                                        )
                  Petitioner,                           )
                                                        )
   v.                                                   )      Nos. 2:18-CR-161
                                                        )      2:20-CV-161
                                                        )
                                                        )
   UNITED STATES OF AMERICA,                            )
                                                        )
                  Respondent.                           )
                                                        )

                            MEMORANDUM OPINION AND ORDER

           Pending before the Court is the motion of Rainey Nicole Fields (“Fields” or

   “Petitioner”), a federal inmate, to vacate, set aside, or correct sentence pursuant to 28 U.S.C. §

   2255 [Docs. 807; Doc. 1]. The Court finds the materials thus submitted, together with the record

   of the underlying criminal case (2:18-CR-161), conclusively show Fields is not entitled to relief

   on any of the claims asserted in her petition. Accordingly, the Court will decide this matter

   without an evidentiary hearing, see United States v. Todaro¸ 982 F.2d 1025, 1028 (6th Cir.

   1993), and will DENY Fields’ motion.

   I.     PROCEDURAL AND FACTUAL BACKGROUND

          A federal grand jury returned a 76 count indictment on October 10, 2018, alleging a

   multi-defendant conspiracy to distribute 50 grams of more of methamphetamine that extended

   from May 2015 through October 2018 in violation of 21 U.S.C. §§ 846, 841(b)(1)(A) [Doc. 3,

   139, 176]. Fields was also indicted in count 5, 21, 23, and 72 for aiding and abetting the

   possession with the intent to distribute 50 grams or more of methamphetamine on various dates

   outlined in the indictment, and for possessing a firearm in furtherance of a drug trafficking

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   offense as charge in count 5 and 21 in violation of 18 U.S.C. § 924(c)(1)(A). In count 20, she

   was indicted for possessing with the intent to distribute 5 grams or more of methamphetamine on

   October 27, 2017.

          On March 25, 2019, a plea agreement was filed in which Fields agreed to plead guilty to

   only count 1, which charged her with a conspiracy to distribute 50 grams or more of

   methamphetamine [Doc. 227]. The plea agreement included an agreed factual basis in support of

   her plea. Specifically, she agreed to the following:

          On June 12, 2017, a Washington County Sheriff’s Department Deputy lawfully
          stopped a vehicle driven by Brock Church for window tinting that was too dark.
          Rainey Fields was in the front passenger seat. The Deputy has his K9 partner,
          who is trained to detect the smell of methamphetamine, conduct a free air sniff
          around the vehicle. The K9 alerted to a pink bag on the passenger side
          floorboard.    Inside the bag the Deputy found two baggies containing
          approximately two (2) ounces of methamphetamine and small lock box containing
          an additional five (5) ounces of methamphetamine. A loaded SCCY 9mm
          handgun was found under the driver’s seat. Church was also found to have a
          small baggie of methamphetamine in his underwear. The methamphetamine
          totaled 221 grams. The defendant now admits that she knew Church possessed
          the 9mm handgun found under his seat.

   [Doc. 227, ¶ 4(c)]. In addition to those facts, she also agreed that in October 2017, she and

   Church dropped off a vehicle at a car dealership for repairs. Three days later, she and Church

   retuned to pick up the vehicle when law enforcement contacted them. They searched the vehicle

   and discovered a loaded AR-15. [Doc. 227, ¶ 4(e)]. Fields agreed that “[f]or the purposes of this

   plea agreement, the parties agree that a 2-level enhancement for possessing a firearm under §

   2D1.1(b)(1)(c) should apply to this defendant.” [Id. at ¶ 4(i)]. She stipulated that she was

   responsible for between 1.5 kilograms but less than 4.5 kilograms of actual methamphetamine.

          A presentence report was prepared by the United States Probation office. It set the base

   offense level at 36 based on Fields’ agreement that she was responsible for between 1.5 but less

   than 4.5 kilograms of methamphetamine [Doc. 343, ¶ 26].            It also applied a two-level

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   enhancement for possessing a firearm based on U.S.S.G. § 2D1.1(b)(1). It reduced her offense

   by three levels for acceptance of responsibility. It determined Fields criminal history category to

   be IV, based on seven criminal history points. This translated into an advisory guideline range of

   imprisonment of 235 to 293 months with a statutory mandatory minimum of 120 months [Id. at

   ¶¶ 70-71]. Fields filed a notice of no objections to the Presentence Report [Doc. 348]. On

   September 20, 2019, the Court sentenced Fields to 210 months imprisonment [Doc. 480]. She

   did not appeal.

          On July 7, 2020, Fields timely filed a motion to vacate pursuant to 28 U.S.C. § 2255

   [Doc. 807; Doc. 1].       In her motion, Fields alleges her counsel was ineffective for “not

   fighting/disputing gun enhancement.” [Doc. 807, pg. 4, Doc. 1, pg. 4]. Fields claims that she

   “was never in possession of the gun that was used as a two-level enhancement on my case. My

   lawyer failed to dispute this, and this resulted in a higher guideline range.” [Id.]. On August 7,

   2020, the Government filed its response, objecting to Fields’ motion [Doc. 5].

   II.    STANDARD OF REVIEW

           This Court must vacate and set aside Petitioner’s sentence if it finds that “the judgment

   was rendered without jurisdiction, or that the sentence imposed was not authorized by law or

   otherwise open to collateral attack, or that there has been such a denial or infringement of the

   constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack…”

   28 U.S.C. § 2255. Under Rule 4 of the Governing Rules, the Court is to consider initially

   whether the fact of the motion itself, together with the annexed exhibits and prior proceedings in

   the case, reveal the movant is not entitled to relief. If it plainly appears the movant is not entitled

   to relief, the Court may summarily dismiss the § 2255 motion under Rule 4.

          When a defendant files a § 2255 motion, he must set forth facts which entitle him to



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   relief. Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285 F.2d 733,

   735 (6th Cir. 1961). “Conclusions, not substantiated by allegations of fact with some probability

   of verity, are not sufficient to warrant a hearing.” O’Malley, 285 F.2d at 735 (citations omitted).

   A motion that merely states general conclusions of law without substantiating allegations with

   facts is without legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United

   States v. Johnson, 940 F.Supp. 167, 171 (W.D. Tenn. 1996). To warrant relief under 28 U.S.C. §

   2255 because of constitutional error, the error must be one of constitutional magnitude which

   had a substantial and injurious effect or influence on the proceedings. Brecht v. Abrahamson,

   507 U.S. 619, 637 (1993) (citation omitted) (§ 2254 case); Clemmons v. Sowders, 34 F.3d 352,

   354 (6th Cir. 1994). See also United States v. Cappas, 29 F.3d 1187, 1193 (7th Cir. 1994)

   (applying Brecht to a § 2255 motion). If the sentencing court lacked jurisdiction, then the

   conviction is void and must be set aside. Williams v. United States, 582 F.2d 1039, 1041 (6th

   Cir.), cert. denied, 439 U.S. 988 (1978). To warrant relief for a non-constitutional error,

   petitioner must show a fundamental defect in the proceeding that resulted in a complete

   miscarriage of justice or an egregious error inconsistent with the rudimentary demands of fair

   procedure. Reed v. Farley, 512 U.S. 339, 354 (1994); Grant v. United States, 72 F.3d 503, 506

   (6th Cir.), cert. denied, 517 U.S. 152 (1982).

   III.   ANALYSIS

          Fields raises one issue in her motion to vacate and that is her counsel was ineffective for

   not challenging the two-level enhancement for possession of a firearm under U.S.S.G. §

   2D1.1(b)(1). The firearm was found under the driver’s seat in the car in which she was a front

   seat passenger. Also found in the car was 221 grams of methamphetamine.

          U.S.S.G. § 2D1.1(b)(1) provides for a two-level enhancement to the offense level for a



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   drug-related conviction where “a dangerous weapon (including a firearm) was possessed.” “The

   enhancement should be applied if the weapon was present, unless it is clearly improbable that the

   weapon was connected with the offense.” U.S.S.G. § 2D1.1 cmt. n.11(A). “To apply the

   enhancement under section 2D1.1(b)(1), the government must establish that (1) the defendant

   actually or constructively possessed the weapon, and (2) such possession was during the

   commission of the offense.” United States v. West, 962 F.3d 183, 187 (6th Cir. 2020)(quoting

   United States v. Hill, 79 F.3d 1477, 1485 (6th Cir. 1996)).

          Fields claims she did not actually possess the firearm. But actual possession is not

   necessary for this enhancement to apply; constructive possession is enough. “Constructive

   possession of an item is the ownership, or dominion or control over the item itself, or dominion

   over the premises where the item is located.” Hill, 79 F.3d at 1485 (citation and internal

   quotation marks omitted). Fields clearly had dominion over the area where the firearm was

   located.

          Fields does not claim she had no knowledge of the firearm under the front seat or that she

   was merely present in the car where the firearm was found. See United States v. Bailey, 553 F.3d

   940, 947 (6th Cir. 2009)(holding that “[t]he mere fact that [defendant] was driving the car in

   which the police found the firearm is not enough to establish dominion over the premises and

   thereby dominion and control over the firearm”). In this case, Fields admitted that she knew

   about the firearm and its location in the car. In Bailey, the Sixth Circuit noted several scenarios

   where constructive possession exists beyond the mere proximity of the defendant to the firearm.

          In cases involving a police officer's discovery of a firearm located on or
          underneath a seat of the car that the defendant drove or rode in as a passenger,
          courts of appeals have found sufficient evidence to establish constructive
          possession when there exists additional evidence beyond proximity. Other
          incriminating evidence may include such evidence as a police officer's testimony
          that he or she saw the defendant bend down to conceal something beneath the

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          seat, the discovery of ammunition within the control of the defendant that fits the
          firearm at issue, a defendant's statement to police suggesting that he had
          knowledge of the firearm ….

   Bailey, 553 F.3d at 948–49 (emphasis added). Thus, where one is proximately located near the

   firearm and knows about the firearm, then that will meet the evidentiary standard for this

   enhancement to apply. In this case, Fields admitted to knowledge of the firearm and was in close

   proximity to it. That Church also had access to the firearm does not affect the application of this

   enhancement so long as Fields did as well. United States v. McFarland, 766 F. App'x 301, 308

   (6th Cir. 2019)(“Even if [co-defendant] also had access to the firearms, the law recognizes joint

   possession, which does not preclude a finding that McFarland constructively possessed the

   firearms.”)(citing United States v. Wheaton, 517 F.3d 350, 367 (6th Cir. 2008)).

          Moreover, her possession was during the commission of the offense. In this case, along

   with the firearm, officers discovered over 200 grams of methamphetamine in Fields’ car. The

   Government clearly met its burden for the enhancement to apply.

          This should come as no surprise to Fields. She stipulated in her plea agreement that this

   enhancement should apply. Indeed, she testified under oath that she understood the terms of the

   plea agreement. See United States v. Peterson, 414 F.3d 825, 827 (7th Cir. 2005) (”Judges need

   not let litigants contradict themselves so readily; a [§ 2255] motion that can succeed only if the

   defendant committed perjury at the plea proceedings may be rejected out of hand unless the

   defendant has a compelling explanation for the contradiction”). As argued by the Government,

   the Court could have dismissed her motion just based on her stipulations in her own plea

   agreement. The Court did not do that but analyzed the merits of her motion. The Court notes

   that her plea agreement significantly benefited her as well since the possession of a firearm in




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   furtherance of a drug trafficking offense, a 18 U.S.C. § 924(c) violation that carries a mandatory

   five year consecutive sentence, was dismissed.

          Fields has not offered any evidence to dispute the application of this enhancement. See

   Short v. United States, 504 F.2d 63, 65 (6th Cir. 1974)(explaining that if “claims are stated in the

   form of conclusions without any allegations of facts in support thereof,” a § 2255 motion is

   “legally insufficient to sustain review”). Because the Court finds that under these facts, the

   enhancement for possessing a firearm under U.S.S.G. § 2D1.1(b)(1) applies, Fields counsel was

   not ineffective. Fields’ counsel’s failure to object to this enhancement was not professionally

   unreasonable or prejudicial because any objection would have been futile. See Coley v. Bagley,

   706 F.3d 741, 752 (6th Cir. 2014) (“Omitting meritless arguments is neither professionally

   unreasonable nor prejudicial.”)

   IV.    CONCLUSION

          For the reasons set forth above, the Court holds that Fields’ convictions and sentence

   were not in violation of the Constitution or laws of the United States. Accordingly, her motion to

   vacate, set aside, or correct her sentence under 28 U.S.C. § 2255 [Docs. 807; Doc. 1] is DENIED

   and her motion DISMISSED.

          Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

   appealability should be granted. A certificate should issue if petitioner has demonstrated a

   “substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth

   Circuit disapproves of the issuance of blanket denials of certificates of appealability. Murphy v.

   Ohio, 263 F.3d 466 (6th Cir. 2001). The district court must “engage in a reasoned assessment of

   each claim” to determine whether a certificate is warranted. Id. at 467. Each issue must be




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   considered under the standards set forth by the Supreme Court in Slack v. McDaniel, 529 U.S.

   473 (2000). Id.

          Under Slack, to warrant a grant of the certificate, “[t]he petitioner must demonstrate that

   reasonable jurists would find the district court's assessment of the constitutional claims debatable

   or wrong." Having examined each of the petitioner's claims under the Slack standard, the Court

   finds that reasonable jurists could not conclude that this Court's dismissal of petitioner's claims

   was debatable or wrong. Therefore, the Court will deny petitioner a certificate of appealability as

   to each claim raised.

          A separate judgment will enter.

          SO ORDERED:

                                                        s/Clifton L. Corker
                                                        United States District Judge




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